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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANE W, in her individual capacity, and in
her capacity as the personal representative
of the estates of her relatives, James W,
Julie W, and Jen W;
                                                  Civil Action No. ________________
JOHN X, in his individual capacity, and in
his capacity as the personal representative       JURY TRIAL REQUESTED
of the estates of his relatives, Jane X, Julie
X, James X, and Joseph X;

JOHN Y, in his individual capacity;

AND JOHN Z, in his individual capacity,

                             Plaintiffs,
        v.

MOSES W. THOMAS,

                            Defendant.



                                           COMPLAINT

        Plaintiffs Jane W, John X, John Y, and John Z in their personal capacities and on behalf

of their decedent relatives (collectively “Plaintiffs”), complain and allege as follows.

                                  PRELIMINARY STATEMENT

        1.       This case arises from the brutal massacre of unarmed civilians seeking shelter in

St. Peter’s Lutheran Church (the “Lutheran Church” or the “Church”) in Monrovia, Liberia

(the “Lutheran Church Massacre” or the “Massacre”). The Church was a designated Red

Cross humanitarian aid center sheltering civilians displaced from the growing violence in

Liberia’s countryside and in the capital city of Monrovia. The Lutheran Church Massacre was

one of the largest attacks on civilians during Liberia’s two back-to-back civil wars, the first of



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which was a seven-year armed conflict beginning in 1989 that took the lives of over 200,000

individuals and displaced half the nation’s population.

        2.       Plaintiffs, citizens of Liberia, are direct survivors of the Lutheran Church

Massacre. On July 29, 1990, Defendant, then-Colonel Moses W. Thomas (“Thomas”), was the

head of a specialized branch of the Government’s Armed Forces of Liberia (“AFL”).                At

Thomas’s command, these armed forces surrounded the Lutheran Church and, over the course of

several hours, indiscriminately shot or hacked to death approximately 600 sleeping civilian men,

women, and children taking refuge there. The Lutheran Church Massacre was part of a larger

campaign of violence against the Mano and Gio ethnic groups by the AFL. Plaintiffs, who

survived the Lutheran Church Massacre by hiding under piles of dead bodies, witnessed the

slaughter of hundreds of civilians, including their own family members.

        3.       To this day, no one has been held accountable in Liberia or in any jurisdiction for

this attack. By 2002, over a decade after the Massacre, Thomas had fled Liberia and entered the

United States, applying for immigration status under a program meant to assist the victims of the

very war crimes he perpetrated. Thomas currently resides in Sharon Hill, Pennsylvania.

        4.       Plaintiffs institute this action against Thomas seeking compensatory and punitive

damages for torts in violation of international and domestic law, and seek damages for

extrajudicial killing and attempted extrajudicial killing; torture; cruel, inhuman, degrading

treatment or punishment; war crimes; and crimes against humanity.

                                   JURISDICTION AND VENUE

        5.       This Court has jurisdiction over Plaintiffs’ claims of extrajudicial killing,

attempted extrajudicial killing, and torture pursuant to 28 U.S.C. § 1331 because these claims

arise under the Torture Victim Protection Act (“TVPA”), Pub. L. No. 102-256, 106 Stat. 73



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(1992) (codified at 28 U.S.C. § 1350 note), and under the Alien Tort Statute (“ATS”), 28 U.S.C.

§ 1350.

          6.       This Court has jurisdiction over Plaintiffs’ claims of cruel, inhuman, degrading

treatment or punishment; war crimes; and crimes against humanity under the ATS, 28 U.S.C.

§ 1350.

        7.         The United States District Court for the Eastern District of Pennsylvania is a

proper venue for this action pursuant to 28 U.S.C. § 1391(b)(1) because Thomas is a resident of

Sharon Hill, Pennsylvania, within the Eastern District of Pennsylvania.

                                              PARTIES

                                            D EFENDANT

        8.         On information and belief, Defendant Thomas was born in Liberia on April 17,

1953. He is a citizen of Liberia and immigrated to the United States in or around 2000. He

currently resides in or around Sharon Hill, Pennsylvania. Thomas held the rank of Colonel in the

AFL and led the Lutheran Church Massacre against the civilians taking refuge there, including

Plaintiffs and their families.

                                             P LAINTIFFS

        9.         All four Plaintiffs seek to proceed under a pseudonym because they fear violent

reprisals against themselves or surviving family members as a result of their participation in this

lawsuit. Plaintiffs are Liberian citizens who survived the Lutheran Church Massacre directed by

Thomas. Plaintiffs bring the claims detailed herein in their individual capacity and/or on behalf

of family members murdered in the Massacre. In particular: Plaintiff Jane W is a Liberian

citizen of the Gio tribe and resides in Liberia. Jane W’s husband, James W, and her two

youngest daughters, Julie W (age 16) and Jen W (age 14) (collectively, “Jane W’s Decedents”),

and Jane W’s aunt were all killed in the Massacre. Plaintiff John X is a Liberian citizen of the

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Gio tribe and resides in Liberia. John X’s wife, Jane X (age 23), and daughter, Julie X (age 5),

and his two brothers, James X (age 40) and Joseph X (age 37), (collectively, “John X’s

Decedents”) were all killed in the Massacre. Plaintiff John Y is a Liberian citizen of the Mano

tribe and resides in Liberia.   Plaintiff John Z is a Liberian citizen of the Mandingo tribe and

resides in Liberia.

                                    STATEMENT OF FACTS

        10.    Except with respect to facts pertaining to Plaintiffs’ backgrounds and matters

falling within their personal knowledge, on information and belief Plaintiffs allege as follows:

                        O VERVIEW O F T HE L IBERIAN C IVIL W AR

        11.    Liberia has experienced two civil wars, which together lasted 14 years (the “First

Civil War” from 1989 to 1997, and the “Second Civil War” from 1999 to 2003). The civil

wars emerged out of long-standing ethnic tensions that were brought to a head by a coup that

took place in 1980 led by a Master Sergeant in the Liberian military, Samuel Doe (“Doe”).

Since Liberia’s colonization in 1822 by American emigrants, the country had reserved political

power and legal rights solely for the descendants of the American settlers, known as “Americo-

Liberians,” who monopolized the government in Liberia for over a century, subjugating

indigenous ethnic groups. Doe, a member of the indigenous Krahn tribe, together with then-

Sergeant Thomas Quiwonkpa (“Quiwonkpa”), from the indigenous Gio tribe, replaced the

“Americo-Liberian” government with a military junta, after assassinating then-President Tolbert

and thirteen members of Tolbert’s cabinet.

        12.    As a result of the 1980 coup, Doe was named head of state and head of the

military junta that declared control over Liberia. Doe used his position to promote members of

his family clans within the Krahn tribe to the most important government and military positions.



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Under Doe, the Krahn, who comprised only five percent of Liberia’s population, held 33 percent

of all government jobs, two-thirds of the senior positions, and all senior military positions.

        13.      In 1985, Doe organized and won an election, which was widely viewed as a

fraudulent effort to legitimize Doe’s power. Doe was declared the winner by a narrow margin

over popular candidate Jackson F. Doe, who many believed to be the rightful winner. Jackson

Doe was a senior senator from the Gio ethnic group and native of Nimba County, a province in

northeastern Liberia— just like Doe’s ally in the 1980 coup, Quiwonkpa. Quiwonkpa, formerly

the Commanding General of the AFL, supported Jackson Doe and organized an attempt to

overthrow Samuel Doe after the election. Doe in return brutally quashed the rebellion and sent

the military to retaliate against Manos and Gios in Nimba County, killing approximately 1,500

civilians.

        14.      The First Civil War began in 1989 when Charles Taylor (“Taylor”), an Americo-

Liberian and former government official in Doe’s administration, joined forces with former

Quiwonkpa supporters and assembled a group of approximately 150 rebel fighters in the Ivory

Coast. Taylor’s forces (the National Patriotic Front of Liberia, or “NPFL”) invaded a military

outpost of Doe’s AFL forces in Nimba County on December 24, 1989. Following this invasion,

Liberia was plunged into a brutal armed conflict for the next seven years. Approximately

200,000 civilians were killed, 750,000 fled the country, and 1.2 million people were internally

displaced. The First Civil War ended with elections in 1997, which brought Taylor to the

presidency, but violence continued to flare up regularly over the next two years.

        15.      The Second Liberian Civil War began in 1999, when various opposition groups to

Taylor’s regime organized and invaded Liberia from Guinea. Violence broke out across the

country as Taylor’s opposition gained control of the countryside and advanced towards the



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capital, Monrovia. Before the opposition could occupy Monrovia, President Taylor resigned and

the Accra Comprehensive Peace Agreement was negotiated and signed on August 18, 2003,

ending the war. The country instituted a transitional government from 2003 until the first

democratic election, in November 2005, when Ellen Johnson Sirleaf (“Sirleaf”) was elected.

     SATU’ S A ND EMG’ S S YSTEMATIC A TTACKS O N M ANO A ND G IO C IVILIANS

        16.    Thomas began serving in the AFL under Doe’s regime in or before 1985. By

around 1986, Thomas had received specialized military training in Israel on counterterrorism

tactics, as well as training in hand-to-hand combat and the use of small weapons, and was made

the deputy commander of a unit within the Executive Mansion Guard Battalion (“EMG”) of the

AFL called the Special Anti-Terrorist Unit (“SATU”). SATU was a highly-trained, elite special

forces unit established by Doe after the 1985 election to serve as the President’s personal guard.

The SATU reported directly to Doe. Both the EMG and its SATU sub-unit were commanded by

and largely composed of Krahns, Doe’s tribal group. Thomas served as deputy commander and,

by 1990, had been made commander of the SATU forces.

        17.    Under the pretense of “hunting rebels,” the SATU—along with other AFL units—

targeted Mano and Gio civilians, including women and children, based exclusively on their

ethnic origin. The EMG and SATU were involved in the brutal response to Quiwonkpa’s 1985

attempted coup in Nimba County, where they killed Mano and Gio civilians indiscriminately.

When Taylor’s forces crossed into Liberia in 1989, the EMG and SATU were again sent to

Nimba County to crush the rebellion—a goal they pursued by indiscriminately killing unarmed

civilians, raping, burning villages, and looting. In the first month, hundreds of civilians, mostly

from the Mano and Gio tribes, were killed by the military. Over 160,000 civilians fled, some to

the Ivory Coast and Guinea and others to Monrovia, which was still untouched by the conflict.



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Taylor began recruiting Manos and Gios to his forces, many of whom joined to seek revenge

against Doe.

        18.    As Taylor’s forces advanced toward Monrovia, soldiers from the EMG and SATU

stationed at the Executive Mansion began carrying out attacks against Mano and Gio civilians

within the city, ostensibly to quash a potential rebellion and prevent more people from joining

the insurgent forces. Hundreds of people were pulled from their homes by government soldiers

at night and shot to death or decapitated on the streets. Others were taken to detention centers

inside military barracks such as the Executive Mansion and the Barclay Training Center.

        19.    Manos and Gios inside the capital city, some of whom had just arrived in flight

from Nimba County and others who had made their lives there, fled their homes out of fear of

being targeted by Doe’s forces.    People made their way to camps and shelters set up for

internally displaced persons (known in international legal terms as “IDPs”, which defines

persons who have been forced to flee their homes but remain within their state’s borders) by the

Red Cross and the Liberian Council of Churches; including the United Nations Development

Program Compound (the “UNDP Compound”), J.J. Roberts School, John F. Kennedy Hospital,

and the Lutheran Church.     Each civilian center provided food and some medical care for

residents. Each was marked with Red Cross flags.

        20.    On May 30, 1990, government soldiers attacked the UNDP Compound, which

was sheltering mostly Mano and Gio civilians. The soldiers entered the compound, shot

indiscriminately into the crowd, and abducted about 40 civilians, many of whom were found

dead the next day. As a result, thousands of additional people, mostly Manos and Gios, fled to

local churches, including the Lutheran Church, for safety. Near the end of June 1990, Thomas

led an operation with SATU and EMG soldiers to identify possible rebel activity at a residential



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compound. The soldiers entered at night, arrested the residents of the building—all Mano or Gio

men, women and children—and took them to the Executive Mansion grounds. Soldiers under

Thomas’s command looted the residential compound and raped some of the captured women.

After brutal interrogations at the Executive Mansion grounds, soldiers from the SATU unit,

which was under Thomas’s command, executed all the prisoners.

        21.    In June 1990, the AFL began purging the military of Manos and Gios. AFL

forces imprisoned at least 200 of the AFL’s own Mano and Gio soldiers in the Post Stockade

Prison, located within the Barclay Training Center Military Barracks. Twenty-five of the

imprisoned soldiers escaped and sought refuge in the Methodist church in an eastern Monrovia

neighborhood known as Sinkor. The remaining Gio and Mano soldiers in the prison were

executed. John X’s brothers, who were members of the military police and were ethnic Gio,

defected from the military as a result of the purges, laid down their arms, and fled to St. Peter’s

Lutheran Church.

        22.    As Taylor’s forces drew nearer to Monrovia, the AFL intensified its targeting of

Mano and Gio civilians. On July 25, 1990, a group of AFL soldiers entered the John F. Kennedy

Hospital in Monrovia, which was being used as a shelter for many Gios. The soldiers rounded

up 250 civilians who worked at or were seeking refuge in the hospital and executed them at the

James Spriggs-Payne Airfield. Many of the survivors of this attack, including John Y and his

family, fled from the hospital and sought refuge at the Lutheran Church.

          A WARENESS O F T HE L UTHERAN C HURCH A S A C IVILIAN S HELTER

        23.    Following the AFL’s attack on the UNDP Compound on May 30, 1990, the

Liberian Council of Churches and the Red Cross established humanitarian aid centers at the

Lutheran Church and a nearby Methodist church for the nearly 9,000 civilians in the city. The

Lutheran Church refuge was run by the Lutheran Church of Liberia (“LCL”), a member of the

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Liberian Council of Churches. By June 4, 1990, more than 2,000 civilians were seeking refuge

at the Lutheran Church alone.

        24.    At the time, the Church compound consisted of a main church building abutted by

a school building, forming a rough “L” shape.        A chest-high solid fence surrounded the

compound, which allowed a view onto the street to anyone taller than around five feet. Red

Cross banners were placed on the four corners of the compound and at the entrance of the

Church, clearly marking the location as a humanitarian aid center. Red Cross workers and

church volunteers distributed food and medicine daily to the roughly 2,000 residents. The

Church continued to conduct regular communion and prayer services, and had a school for

young children. As of early June 1990, men were mainly housed in the Church building, while

women and children slept in the school building, though some families chose to stay together in

the main Church building. The Church compound was patrolled by unarmed volunteers, and

none of the civilians or Church or humanitarian aid staff was armed.

        25.    During this time, Doe established a citywide curfew from 6:00 p.m. to 6:00 a.m.

Government forces were permitted to shoot anyone found outside after curfew, on the

assumption that anyone breaking curfew was a rebel. Refugees seeking shelter at the Church

were thus required to remain inside the crowded Church compound for twelve hours a day. Even

outside of the curfew, most civilians, particularly Manos and Gios, were prevented from moving

about Monrovia by numerous AFL checkpoints. At these checkpoints, soldiers would identify

Manos and Gios, often by language, dialect, or accent, sometimes shooting the person on the

spot.

        26.    Thomas was aware that the Church was a shelter for civilians. In the days before

the Lutheran Church Massacre on July 29, 1990, government military vehicles drove past the



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Church frequently. On at least one of these occasions, Thomas himself, accompanied by a small

group of soldiers under his command, stopped at the Church. When the soldiers arrived, the

Church compound was filled with women and their young children, preparing food and washing

clothing in the front yard. Thomas addressed the people directly, telling them to remain at the

Church and promising that he would guard them and ensure their safety.

                          T HE L UTHERAN C HURCH M ASSACRE

        27.    At the time of the Lutheran Church Massacre, Thomas served as commander of

the SATU and reported directly to both President Doe and the head of the EMG Battalion. On or

before July 29, 1990, Thomas instructed approximately 45 soldiers from the SATU and EMG

under his direct command that their mission was to kill all the people in the Lutheran Church

compound regardless of whether or not they were rebels.

        28.    The violence began in the afternoon of July 29, 1990, two blocks from the

Lutheran Church at the Lutheran Bishop’s Compound. An additional 300 civilians, including a

U.S. missionary working for the Bishop, had taken shelter in the Lutheran Bishop’s Compound,

which also held provisions designated for distribution to the displaced persons living at the

Lutheran Church and the Methodist church. At the time of the attack, the Bishop had been

working with the Liberian Council of Churches to mediate peace negotiations. The soldiers

looted the provisions, and then proceeded to arrest the Compound’s residents, including a

Lutheran pastor, the former Commissioner of Police, and the Commissioner of Police’s wife,

who was a relative of the Bishop. Although the pastor was later released, the Commissioner of

Police and his wife were never seen again. In addition, the soldiers shot and killed the adopted

daughter of the U.S. missionary and took possession of her body, preventing the missionary from

burying her loved one.



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        29.    That same night, while most of the 2,000 men, women and children inside the

Church and adjoining school building were asleep, Thomas and approximately 45 SATU and

EMG soldiers under his command entered the Church compound and opened fire on the unarmed

residents with small arms, including assault rifles. Some soldiers also carried “cutlasses” or

machetes.

        30.    Countless people were felled by bullets, until the bodies piled up on the floor. A

few of the residents, including Plaintiffs, survived by hiding under piles of dead bodies and

feigning death as soldiers stabbed fallen victims to ensure that they were truly dead. Some

women were raped before they were murdered. Soldiers looted the belongings of those they

killed. Following the shooting, soldiers used cutlasses to hack many of the injured or hiding

survivors to death.

        31.    Jane W, her husband James W, and their two youngest daughters, Julie W and Jen

W, as well as Jane W’s elderly aunt were asleep inside the main church building when they were

awakened by gun shots being fired into the crowd of sleeping residents by soldiers in green

uniforms and combat helmets. Within moments, Jane W’s daughter, Julie W, and Jane W’s

elderly aunt were shot and killed as Jane W watched in horror. James W gathered their other

daughter, Jen W, and ran toward the doors of the Church in an attempt to escape. Jane W lost

sight of them, but later discovered that they had both been shot and killed. Jane W survived by

hiding under piles of dead bodies until the shooting ended.

        32.    John X and his two brothers were also sleeping in the main church building at the

Lutheran Church, while his wife and young daughter were sleeping in the adjacent school

building. John X awoke to the sound of soldiers firing weapons into the crowd of people




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sleeping in the church. John X survived the assault by hiding among the dead bodies until the

morning, but his wife, daughter, and two brothers all were murdered.

        33.    John Y was sitting by the pulpit in the back of the Lutheran Church when he

heard someone shout that he was going to kill all the rebels. Soldiers then stormed the Church

and began shooting at the crowd, many of whom were asleep in bed. John Y hid inside the

church pulpit to escape the assault, but was shot in the leg.

        34.    John Z was one of a number of refugees sleeping outside the school building at

the Lutheran Church, within the border fence of the Church compound. He awoke to see soldiers

in SATU uniforms and combat helmets enter the Church compound and begin shooting the

people sleeping outside the buildings. John Z hid among the dead bodies piled around him and

pretended to be dead. During the course of the attack, a soldier stabbed a cutlass into the pile of

bodies John Z was hiding in, stabbing John Z in the arm. Near the end of the attack, John Z saw

Thomas standing in the front courtyard of the Church, carrying a pistol. John Z heard Thomas

issue a ceasefire order, ending the assault.

        35.    The attack carried out under Thomas’s command lasted several hours. After

Thomas issued the order to cease firing, the soldiers stopped the attack and loaded into military

vehicles to return to their stations. The soldiers left behind them approximately 600 dead

civilians and hundreds more wounded civilians.

        36.    The violence continued against the survivors of the attack the next morning. Red

Cross workers and church volunteers carried wounded survivors to the nearby John F. Kennedy

Hospital and Catholic hospital. Many of the survivors, including Plaintiff John X, fled to a

nearby refugee center at the J.J. Roberts School. That afternoon, Thomas went to the gates of the

J.J. Roberts School and accused the Red Cross of hiding rebels. Later that day, AFL soldiers



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entered the school premises, where John X remained sheltered. The soldiers announced their

intention to kill all Manos and Gios before the rebels reached Monrovia and then proceeded to

execute civilians, including a Red Cross worker, with guns and machetes.

        37.    Relief workers took John Y to a nearby hospital for treatment the next morning.

He saw the dead bodies of his aunt and her small baby before he left the Church. His mother and

younger brother fled to Don Boscoe School, another civilian shelter, for protection. A week later

John Y located his father, and they both walked for over a month to Nimba County. The family

was finally reunited after two more years, when John Y’s mother and younger brother were at

last able to make their way to Nimba County.

        38.    The morning after the Lutheran Church Massacre, Jane W fled with dozens of

other survivors to Mount Barclay Camp, an IDP center on the outskirts of Monrovia. She then

spent over a month walking over 300 kilometers back to Nimba County, where she stayed for the

remainder of the war. A year later, she was reunited with her eldest daughter, who had been at a

different shelter on the night of the Lutheran Church Massacre.

        39.    Many survivors of the Lutheran Church Massacre also fled to a nearby United

States Agency for International Development (“USAID”) compound, but AFL soldiers broke

into the compound that afternoon to arrest several hundred survivors.        The AFL soldiers

executed the survivors at a nearby beach.

        40.    The bodies of the civilians slaughtered at the Lutheran Church remained where

they had fallen for months until October 1990, when a group of volunteers buried the bodies in

mass graves on the Church grounds.

                                     O NGOING I MPUNITY

        41.    In the days following the Lutheran Church Massacre, the U.S. Embassy and

several international organizations condemned the Liberian government.        No one was held

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accountable for the attacks. Back-to-back civil wars raged for the next thirteen years in Liberia

until the Comprehensive Peace Agreement of 2003. The agreement itself was tentative and

overshadowed by a continued threat of reoccurring violence.             Liberia remained under a

transitional government until Sirleaf’s inauguration in January 2006.

        42.    On May 12, 2005, the transitional government enacted a law establishing a Truth

and Reconciliation Commission (“TRC”) for Liberia, with a broad mandate to investigate gross

human rights violations committed from January 1979 to October 2003, and to identify

perpetrators responsible for these abuses. The TRC was tasked with recommending individuals

for investigation and prosecution for the crimes detailed in the mandate and had the power to

recommend amnesty for some individuals, in limited circumstances. In addition, the TRC was

empowered to make recommendations to the Head of State regarding reparation and

rehabilitation of victims of wartime atrocities and human rights abuses.

        43.    The TRC was tasked with making recommendations to the Government of Liberia

on the problem of impunity for alleged perpetrators and on reparations for victims. The TRC did

not require individual victims to raise claims, but rather had a broad-scale mandate to investigate

wartime atrocity crimes and human rights abuses, including “massacres, sexual violations,

murder [and] extra-judicial killings.” Plaintiffs had reason to believe that the TRC would

investigate, and was in fact investigating, the human rights violations committed during the

Lutheran Church Massacre.

        44.    The TRC issued its final report and recommendations on July 1, 2009 to President

Sirleaf. Among other measures, the TRC recommended the creation of an Extraordinary

Chamber within the Courts of Liberia to prosecute war crimes and crimes against humanity,

including the crimes that took place during the violent attack of the Lutheran Church. In January



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2011, the Liberian Supreme Court determined that the TRC’s recommendations were merely “an

option” for the government to implement or ignore at its discretion. As of the time of filing, no

laws have been passed to establish a special court for wartime atrocities in Liberia, and no

prosecutions have occurred.

        45.    In spite of the Comprehensive Peace Agreement of 2003, which envisioned

prosecution of wartime atrocities and reparations for victims, impunity has persisted in Liberia.

As of the date of the filing of this Complaint, several of the most renowned alleged perpetrators

of war crimes and serious abuses still hold political office.

        46.    Even after the start of nominal peace in 2003 and the election of Sirleaf in 2005,

violence continued in some parts of the country. Witnesses who have come forward to testify

against individual perpetrators, even perpetrators residing outside of Liberia, have been

threatened as a result.

        47.    In addition to persistent impunity, efforts to investigate the Lutheran Church

attack and other atrocities were also delayed by the Ebola pandemic that struck Liberia and

neighboring countries. West Africa was gripped by the pandemic from March 30, 2014 until

June 9, 2016. During that time, travel in and around Liberia was extremely dangerous and

rendered nearly impossible by government decree.

        48.    Liberia’s prolonged, back-to-back civil wars resulted in a lack of civil and legal

infrastructure, including underdeveloped transportation infrastructure, limited access to

technology, and a judiciary without capacity to investigate or resolve individual claims arising

from the civil wars. These problems persisted during and after the civil wars and continue to this

day. Consequently, Plaintiffs and other victims of human rights violations had no way to

independently investigate claims for those violations.



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        49.     In or around August 2000, Thomas emigrated to the United States and actively

took steps to conceal his connection to his crimes in Liberia, including by applying for

immigration status under a program meant to assist the victims of the very war crimes he

perpetrated. Plaintiffs had no way to discover that Thomas was in the United States, and only

John Y was aware of Thomas’s identity.

                                      L EGAL F RAMEWORK

        50.     The ATS permits non-citizens to bring suit in U.S. courts for violations of the law

of nations or a treaty of the United States when those claims “touch and concern the territory of

the United States.” Kiobel v. Royal Dutch Petrol. Co., 569 U.S. 108, 124– 25 (2013). The ATS

confers jurisdiction on this Court because Plaintiffs’ claims for violations of the law of nations

profoundly impact the United States.

        51.     Thomas has continuously resided in the United States for approximately

seventeen years, escaping both criminal and civil liability for the atrocities he committed in

Liberia.    The United States has publicly affirmed its commitment to ending impunity for

perpetrators of gross human rights violations and has an interest in ensuring that it does not

provide safe harbor to Thomas from claims, like Plaintiffs’, seeking redress for egregious

violations of the law of nations. Moreover, Thomas sought to remain in the United States under

an immigration policy intended to assist victims of the conflict, including victims of the

atrocities committed by Thomas alleged herein.

        52.     The violent rampage that gives rise to Plaintiffs’ claims also harmed U.S. citizens,

a U.S. agency, and a U.S.-affiliated religious institution, and took place in the broader context of

a civil war in which the United States was deeply involved owing to its long-standing historical

ties with Liberia. When government soldiers broke into the Lutheran Bishop’s Compound the

day of the Lutheran Church Massacre, they threatened a U.S. missionary with serious bodily

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injury, murdered her adopted daughter, and took possession of the daughter’s body.            The

following day, AFL soldiers pursued survivors of the Lutheran Church Massacre who had fled to

the compound of a U.S. agency—USAID—and invaded the compound to continue their violent

rampage. The soldiers arrested hundreds of survivors and executed them at a nearby beach. Ten

days later, government soldiers again entered the USAID compound to arrest and imprison a

U.S. citizen who had provided first aid to the survivors fleeing the Massacre. On August 17,

1990, SATU forces also captured, beat, and shot another U.S. missionary in Monrovia. The

missionary died while in custody at the Executive Mansion. The Lutheran Church itself was also

closely affiliated with a U.S. institution—the refuge at the Lutheran Church was run by the LCL,

over which the Evangelical Lutheran Church of America exercised formal stewardship until

1965, and to which it gave extensive operational and administrative support until 1992 (including

during the period Thomas committed the atrocities alleged herein).

        53.    Indeed, the LCL was a specific target of Doe’s military forces for the role that it

played, in conjunction with the United States Government, in seeking to broker a peace

agreement to end the violence of his regime. Historically, the United States—which always had

a unique relationship with Liberia owing to its role in founding Liberia—had supported Doe’s

administration. In 1985, before the First Civil War began, the United States intervened in favor

of Doe’s administration, declaring his election legitimate, deploying soldiers in Monrovia, and

warning him of a coup. The United States subsequently provided half a billion dollars in aid to

Doe’s administration and invested heavily in Liberia’s military infrastructure, establishing a

strategic military base, CIA station, and airfield for U.S. use during the Cold War.

        54.    However, beginning in 1988, Doe’s administration became increasingly

antagonistic towards U.S. interests.     In late 1988, Doe expelled U.S. advisors from his



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government, threatening their safety. By June 3, 1990, U.S. warships were stationed off the

coast of Liberia, in preparation for a possible intervention. On June 5, 1990, the Inter-Faith

Mediation Committee (the “IFMC”)—headed by the LCL’s Bishop Ronald Diggs—met with

Doe and demanded his resignation. One week later, on June 12, 1990, the IFMC held a meeting

at the U.S. Embassy to attempt to broker a peace agreement that involved Doe’s resignation.

        55.    Thereafter, Doe’s military forces targeted the IFMC, Diggs, and the LCL

leadership generally. It was against this backdrop that the attack on Bishop Diggs’ Compound,

during which AFL forces threatened a U.S. missionary and murdered her daughter, occurred

mere hours before the Lutheran Church Massacre. Although the United States decided not to

intervene militarily in the wake of the Massacre and the subsequent invasion of the USAID base,

the Massacre marked a turning point: within a week, the United States had launched a mission to

evacuate U.S. citizens, most U.S. government personnel and others from the war-torn capital.

        56.    The United States ultimately played a critical role in resolving the First Civil War.

Following the Lutheran Church Massacre, the U.S. Embassy made multiple attempts to institute

a ceasefire. The U.S. government played a key role in negotiating the Comprehensive Peace

Agreement that officially ended the civil war, sent troops to Liberia in order to rescue thousands

of people, and accepted between 20,000 to 30,000 refugees into U.S. territory.            The U.S.

Embassy was the only embassy to remain open for the duration of the conflict. After the conflict

ended, TRC hearings with victims and perpetrators were held in the United States.




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                                    FIRST CLAIM FOR RELIEF

           A LIEN T ORT S TATUTE A ND T ORTURE V ICTIM P ROTECTION A CT :
          E XTRAJUDICIAL K ILLING (B Y P LAINTIFFS J ANE W A ND J OHN X I N
               T HEIR I NDIVIDUAL C APACITIES , A ND A S R EPRESENTATIVES O F
                                T HEIR D ECEDENT E STATES )

        57.      Plaintiffs Jane W and John X, in their individual capacities, and as representatives

of the estates of Jane W’s Decedents and John X’s Decedents, re-allege and incorporate by

reference the allegations set forth in paragraphs 1 through 56 as if fully set forth herein.

        58.      During the Lutheran Church Massacre on July 29, 1990, James W (Jane W’s

husband), Julie and Jen W (Jane W’s two daughters), Jane X (John X’s wife), Julie X (John X’s

daughter), James and Joseph X (John X’s two brothers) were all killed by members of the AFL.

        59.      The killings of Jane W’s and John X’s family members constitute extrajudicial

killings in violation of the TVPA, 28 U.S.C. § 1350 note, § 2(a). In addition, the killings

constitute “tort[s] … committed in violation of the law of nations or a treaty of the United

States” under the ATS, 28 U.S.C. § 1350, in that these acts were committed in violation of

customary international law prohibiting extrajudicial killings as widely expressed, clearly

defined, and codified in multilateral treaties and other international instruments, international and

domestic judicial decisions, and other authorities.

        60.      Thomas’s acts described herein and the acts committed by the soldiers under his

direction and control were committed under actual or apparent authority, or color of law, of the

Republic of Liberia and the AFL during the administration of President Doe.

        61.      The killings of Plaintiffs’ family members were not authorized by a previous

judgment pronounced by a regularly constituted court affording all the judicial guarantees that

are recognized as indispensable by civilized peoples. The killings were not, under international

law, lawfully carried out under the authority of Liberia or any other foreign nation. Plaintiffs’


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family members were never charged with, convicted of, or sentenced for any crime. Plaintiffs

and their family members were unarmed and did not pose a real or apparent threat to persons or

property that would have justified the use of deadly force against them.

        62.    The acts alleged were committed by Thomas or individuals under his command,

over whom he possessed the legal authority and practical ability to exert control by virtue of

being a commander in the AFL, as described in paragraphs 16, 27, and 35. During the Lutheran

Church Massacre, Thomas was the military commander or acting military commander for both

the SATU and EMG forces committing the joint operation as described in paragraphs 27 to 40.

Thomas thus knew or reasonably should have known about the abuses committed against

Plaintiffs and their decedents by virtue of his participation in the Lutheran Church massacre.

        63.    As a member of the AFL and commander of SATU, Thomas had a duty under

customary international law, multilateral treaties, and Liberian law to ensure the protection of

civilians, to prevent violations of international and Liberian law by soldiers under his command,

and to ensure that all persons under his command were trained in and complied with

international and Liberian law, including the prohibitions against extrajudicial killing, war

crimes, and crimes against humanity.

        64.    Thomas was under a duty to investigate, prevent and punish violations of

international and Liberian law committed by soldiers under his command. Thomas failed or

refused to take all necessary measures to investigate and prevent the abuses described herein, or

to punish personnel under his command for committing such abuses, making him also liable

under a theory command responsibility.

        65.    Thomas ordered, incited, and/or solicited SATU and EMG forces to commit the

attacks on people taking refuge in the Lutheran Church, as described in paragraphs 27 to 40. As



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an officer in the AFL and commander of SATU, Thomas exercised authority during the Lutheran

Church massacre, instructing SATU and EMG forces during the attack, and soliciting their

participation. Thomas’s incitement and/or solicitation was directed to, and likely to produce,

imminent unlawful action. Thomas was aware of the substantial likelihood of harm in ordering,

inciting, or soliciting the attack at the Lutheran Church, and consciously desired that the

unlawful attacks be executed. Thomas’s ordering, incitement, and solicitation had a direct and

substantial effect on the commission of the wrongful acts.

        66.    Thomas conspired and knowingly acted in concert with one or more members of

the AFL, pursuant to a common plan, design, or scheme to use physical violence and

intimidation, in furtherance of the wrongful acts alleged herein, as described in paragraphs 27 to

40. Thomas knowingly joined and participated in carrying out this common plan, design, and

scheme. In addition to being personally liable for his own actions, Thomas is jointly and

severally liable for the actions of his co-conspirators, all of which were actions undertaken in

furtherance of a common plan, design, and scheme to carry out the Lutheran Church Massacre.

        67.    Thomas also co-perpetrated and engaged in a joint criminal enterprise with SATU

and EMG forces that planned or carried out the attack at the Lutheran Church on July 29, 1990,

the common purpose of which was to attack the Lutheran Church and to eliminate civilians

perceived as sympathetic to insurgent groups. In execution of this common plan, Thomas and

his co-perpetrators committed the extrajudicial killings and other violations of international law

against Plaintiffs and their family members detailed herein. Thomas and his co-participants in

the attack were aware of and intended the substantial likelihood of harm to civilians including

Plaintiffs and their family members that resulted from the attack.




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        68.       Taking into account Thomas’s command position, presence during the attack, and

efforts to organize the attack, Thomas provided an essential contribution to the common plan,

which resulted in the commission of the violations of international law detailed herein.

        69.       In addition, Thomas aided, abetted, or otherwise substantially assisted in the

commission or attempted commission of the unlawful acts alleged herein as described in

paragraphs 27 to 40, which had a substantial effect on the commission of those acts. At all

relevant times, Thomas knew that his actions would aid, abet or assist in the commission of the

wrongful conduct alleged herein.       Thomas is therefore jointly and severally liable for the

wrongful conduct of the persons whom he aided and abetted.

                                  SECOND CLAIM FOR RELIEF

               A LIEN T ORT S TATUTE A ND T ORTURE V ICTIM P ROTECTION A CT :
                              A TTEMPTED E XTRAJUDICIAL K ILLING
                    (B Y A LL P LAINTIFFS I N T HEIR I NDIVIDUAL C APACITIES )

        70.       Plaintiffs re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 56 as if fully set forth herein.

        71.       During the attack at the Lutheran Church, Plaintiffs were shot at and stabbed by

members of the SATU and EMG forces acting under direct orders, direction, and instigation

from Thomas. All Plaintiffs were placed in imminent danger to their lives. Plaintiff John Y

additionally suffered a bullet wound in the leg, while Plaintiff John Z was stabbed in the arm.

        72.       The acts taken against Plaintiffs during the Lutheran Church Massacre constitute

attempted extrajudicial killings in violation of the TVPA, 28 U.S.C. § 1350 note, § 2(a). In

addition, the attempted extrajudicial killings constitute “tort[s] … committed in violation of the

law of nations or a treaty of the United States” under the ATS, 28 U.S.C. § 1350, in that these

acts were committed in violation of customary international law prohibiting attempted

extrajudicial killings as widely expressed, clearly defined, and codified in multilateral treaties

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and other international instruments, international and domestic judicial decisions, and other

authorities.

        73.    Thomas’s acts described herein and the acts committed by the soldiers under his

direction and control were committed under actual or apparent authority, or color of law, of the

Republic of Liberia and the AFL during the administration of President Doe.

        74.    The attempted killings of Plaintiffs were not authorized by a previous judgment

pronounced by a regularly constituted court affording all the judicial guarantees that are

recognized as indispensable by civilized peoples.       The attempted killings were not, under

international law, lawfully carried out under the authority of Liberia or any other foreign nation.

Plaintiffs were never charged with, convicted of, or sentenced for any crime. Plaintiffs were

unarmed and did not pose a real or apparent threat to persons or property that would have

justified the use of deadly force against them.

        75.    As pleaded in paragraphs 62 to 69, with respect to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of attempted extrajudicial killing set forth in paragraphs 70 to 74 above.

                                  THIRD CLAIM FOR RELIEF

           T ORTURE V ICTIM P ROTECTION A CT A ND A LIEN T ORT S TATUTE :
           T ORTURE (B Y A LL P LAINTIFFS I N T HEIR I NDIVIDUAL C APACITIES ,
               A ND A S R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

        76.    Plaintiffs re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 56 as if fully set forth herein.

        77.    On July 29, 1990, Thomas and the SATU and EMG forces trapped Plaintiffs in

St. Peter’s Lutheran Church along with hundreds of other civilians. The SATU and EMG forces

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fired repeatedly into the crowd, and then moved through the Church stabbing bodies to eliminate

survivors, and in some cases committing sexual violence. These actions placed Plaintiffs in

imminent fear of death or severe pain and suffering to themselves and to their family members.

Plaintiffs were forced to hide under fallen bodies or in cramped spaces in order to survive. As a

result of these actions, Plaintiffs suffered physical injury, including gunshot and stab wounds,

and intense mental suffering, witnessing the deaths of their family members and other people

trapped in the Lutheran Church. The acts perpetrated against Plaintiffs constitute torture in

violation of the TVPA, 28 U.S.C. § 1350, note. In addition, these acts constitute “tort[s] . . .

committed in violation of the law of nations or a Treaty of the United States” under the ATS, 28

U.S.C. § 1350, in that these acts were committed in violation of customary international law, as

expressed, defined, and codified in multilateral treaties and other international instruments,

international and domestic judicial decisions, and other authorities.

        78.    At the time these acts occurred, Thomas and soldiers under his command had

surrounded the Lutheran Church compound and executed individuals that tried to escape.

Accordingly, Plaintiffs and their decedents were in the custody or physical control of Thomas

and his subordinates.

        79.    The acts described herein were inflicted deliberately and intentionally for

purposes that include punishing Plaintiffs and other civilians for acts that they or third persons

were suspected of having committed, intimidating or coercing Plaintiffs and other civilians,

and/or discriminating against Plaintiffs on the basis of their alleged political beliefs or ethnicity.

        80.    Thomas’s acts described herein and the acts committed by the soldiers under his

direction and control were committed under actual or apparent authority, or color of law, of the

Republic of Liberia and the AFL during the administration of President Doe.



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        81.    The torture of Plaintiffs and their decedents did not arise from and was not

inherent in or incidental to lawful sanctions. Plaintiffs and their decedents were never charged

with, convicted of, or sentenced for any crime punishable by acts alleged herein.

        82.    As pleaded in paragraphs 62 to 69, with regard to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of torture set forth in paragraphs 76 to 81 above.

                                 FOURTH CLAIM FOR RELIEF

     A LIEN T ORT S TATUTE : C RUEL , I NHUMAN , O R D EGRADING T REATMENT O R
   P UNISHMENT (B Y A LL P LAINTIFFS I N T HEIR I NDIVIDUAL C APACITIES , A ND A S
                   R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

        83.    Plaintiffs re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 56 as if fully set forth herein.

        84.    Plaintiffs and decedents were subjected to acts meant to inflict mental and

physical suffering, anguish, humiliation, fear, or debasement. Over the course of the Massacre,

Plaintiffs and their decedents were shot at over a period of hours and Plaintiffs survived only by

hiding among dead or fallen bodies. Plaintiffs suffered physical injury, including gunshot and

stab wounds, and severe mental suffering, including as the result of witnessing the deaths of their

family members and other civilians.

        85.    These acts constituted cruel, inhuman, or degrading treatment of punishment, and

constitute “tort[s] . . . committed in violation of the laws of nations or a treaty of the United

States” under the ATS, 28 U.S.C. § 1350. The acts were in violation of customary international

law prohibiting cruel, inhuman, or degrading treatment or punishment as reflected, expressed,



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defined, and codified in multilateral treaties and other international instruments, international and

domestic judicial decisions, and other authorities.

        86.    As pleaded in paragraphs 62 to 69, with respect to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of cruel, inhuman, or degrading treatment or punishment set forth in

paragraphs 83 to 85 above.

           FIFTH, SIXTH, SEVENTH, EIGHTH, AND NINTH CLAIMS FOR RELIEF

                           A LIEN T ORT S TATUTE : W AR C RIMES

        87.    Plaintiffs re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 56 as if fully set forth herein.

                                   C ONTEXTUAL E LEMENTS

        88.    Thomas’s acts against Plaintiffs and their decedents were committed in the

context of, and associated with, an armed conflict as described paragraphs 11 to 22.

        89.    The acts identified in Claims Five through Nine below were committed in the

context of, and associated with this armed conflict, and constitute war crimes, and each one is

therefore a “tort . . . committed in violation of the laws of nations or a treaty of the United

States” under the ATS, 28 U.S.C. § 1350. The acts were committed in violation of Common

Article 3 of Geneva Conventions I-IV and customary international law prohibiting war crimes as

reflected, expressed, defined, and codified in multilateral treaties and other international

instruments, international and domestic judicial decisions, and other authorities.

        90.    Thomas and the SATU and EMG forces were aware of the factual circumstances

that established the existence of an armed conflict, in part because they were active participants

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in the armed conflict. This armed conflict bound Thomas to follow the obligations of Common

Article 3 of the Geneva Conventions of 1949 and the customary norms of internal armed

conflict.

        91.     At all relevant times described herein, the civilians inside the Lutheran Church,

including Plaintiffs and their decedent family members, were unarmed civilians taking no active

part in hostilities, and therefore were protected under Common Article 3 of the Geneva

Conventions of 1949 and the customary norms of internal armed conflict. Thomas and the

SATU and EMG forces under his command knew that the civilians inside the Lutheran Church,

including the Plaintiffs and their decedent family members, were unarmed civilians.             The

Lutheran Church was a center for humanitarian relief marked with Red Cross flags on all four

corners of the compound.

            F IFTH C LAIM F OR R ELIEF : W AR C RIME O F T ORTURE A ND C RUEL
            T REATMENT (B Y A LL P LAINTIFFS I N T HEIR I NDIVIDUAL C APACITIES ,
                 A ND A S R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

        92.     As part of the internal armed conflict, Thomas and members of the SATU and

EMG forces subjected Plaintiffs and their family members to torture and cruel treatment at St.

Peter’s Lutheran Church. On July 29, 1990, Thomas and the SATU and EMG forces surrounded

St. Peter’s Lutheran Church. SATU and EMG forces fired repeatedly into a crowd of unarmed

IDPs and then moved throughout the compound, stabbing bodies to eliminate survivors.

Plaintiffs either died under these conditions or were forced to hide under fallen bodies or in

cramped spaces in order to survive. As a result of these actions, Plaintiffs suffered physical

injury, including gunshot and stab wounds, and witnessed the death of their family members and

other civilians. These actions inflicted severe physical or mental pain or suffering upon Plaintiffs

and their decedents.



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        93.     The acts described herein were inflicted deliberately and intentionally for

purposes that include punishing Plaintiffs and other civilians for acts that they or third persons

were suspected of having committed; intimidating or coercing Plaintiffs and other civilians;

and/or discriminating against Plaintiffs and other civilians on the basis of their alleged political

beliefs, ethnicity, or county of origin.

        94.     As pleaded in paragraphs 62 to 69, with regard to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of the war crime of torture and cruel treatment set forth in paragraphs 87

to 93 above.

      S IXTH C LAIM F OR R ELIEF : W AR C RIME O F I NTENTIONALLY D IRECTING
     A TTACKS A GAINST T HE C IVILIAN P OPULATION A ND C IVILIANS T AKING N O
      D IRECT P ART I N H OSTILITIES (B Y A LL P LAINTIFFS I N T HEIR I NDIVIDUAL
             C APACITIES , A ND B Y P LAINTIFFS J ANE W A ND J OHN X A S
                 R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

        95.     Thomas and the SATU and EMG forces acting under his direction targeted the

Lutheran Church, a designated Red Cross shelter providing humanitarian assistance to civilians

during the armed conflict. The nearly 2,000 civilians inside the shelter were unarmed civilians,

taking no active part in the hostilities.

        96.     Thomas directed the attack against unarmed civilians.           Thomas’s actions in

ordering the Lutheran Church Massacre therefore constitute the war crime of intentionally

directing attacks against the civilian population and civilians not taking direct part in hostilities.

        97.     As pleaded in paragraphs 62 to 69, with regard to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

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and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of the war crime of intentionally directing attacks against a civilian

population and civilians taking no direct part in hostilities set forth in paragraphs 87 to 91 and 95

to 96 above.

                S EVENTH C LAIM F OR R ELIEF : W AR C RIME O F M URDER
      (B Y P LAINTIFFS J ANE W A ND J OHN X I N T HEIR I NDIVIDUAL C APACITIES ,
              A ND A S R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

         98.    During the Lutheran Church Massacre on July 29, 1990, James W (Jane W’s

husband), Julie and Jen W (Jane W’s two daughters), Jane X (John X’s wife), Julie X (John X’s

daughter), James and Joseph X (John X’s two brothers) were each killed by SATU and/or EMG

soldiers acting under Thomas’s direction.

         99.    Both James and Joseph X (John X’s brothers) had defected from the military

police two months prior to the Lutheran Church Massacre, had laid down their weapons, and

were taking no active part in the hostilities. Jane W’s relatives and John X’s wife and daughter

had never taken any part in the armed conflict and were civilians taking shelter at the Lutheran

Church.

         100.   The Lutheran Church Massacre, which resulted in the death of Plaintiffs’

decedents, constitutes the war crime of murder because it occurred in the context of and was

associated with an armed conflict not of an international character.

         101.   As pleaded in paragraphs 62 to 69, with regard to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of the war crime of murder set forth in paragraphs 87 to 91 and 98 to 100

above.

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             E IGHTH C LAIM F OR R ELIEF : W AR C RIME O F I NTENTIONALLY
          D IRECTING A TTACKS A GAINST P ERSONNEL O R O BJECTS I NVOLV ED
             I N H UMANITARIAN A SSISTANCE (B Y A LL P LAINTIFFS I N T HEIR
                  I NDIVIDUAL C APACITIES , A ND B Y P LAINTIFFS J ANE W A ND
                J OHN X A S R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

         102.     Thomas and the SATU and EMG forces acting under Thomas’s direction targeted

the Lutheran Church, a designated humanitarian aid shelter marked by Red Cross flags readily

apparent on all four corners of the compound.          The Red Cross center provided medical

assistance, food, and shelter to civilians fleeing the violence in Monrovia over the course of the

armed conflict.

         103.     Thomas had previously visited the Lutheran Church and was aware of its Red

Cross status, and nevertheless intended to and did attack the Church. The Lutheran Church

Massacre constitutes the war crime of intentionally directing attacks against personnel or objects

involved in humanitarian assistance.

         104.     As pleaded in paragraphs 62 to 69, with respect to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of the war crime of intentionally directing attacks against personnel or

objects involved in humanitarian assistance set forth in paragraphs 87 to 91 and 102 to 103

above.




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N INTH C LAIM F OR R ELIEF : W AR C RIME O F I NTENTIONALLY D IRECTING A TTACKS
   A GAINST A B UILDING D EDICATED T O R ELIGION O R A C HARITABLE P URPOSE
      W HICH W AS N OT A M ILITARY T ARGET A T T HE T IME O F T HE A TTACK
(B Y A LL P LAINTIFFS I N T HEIR I NDIVIDUAL C APACITIES , A ND B Y P LAINTIFFS J ANE
       W A ND J OHN X A S R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

        105.   Thomas and the SATU and EMG forces acting under Thomas’s direction targeted

the Lutheran Church, an active church providing religious services, medical services, and food

aid during the armed conflict. That it was a place of worship was readily apparent.

        106.   Thomas intended to and did attack the Lutheran Church. The Lutheran Church

Massacre constitutes the war crime of intentionally directing attacks against a building dedicated

to religion or charitable purposes that was not a military target at the time of the attack.

        107.   As pleaded in paragraphs 62 to 69, with respect to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of the war crime of intentionally directing attacks against a building

dedicated to religion or a charitable purpose which was not a military target at the time of the

attack set forth in paragraphs 87 to 91 and 105 to 106.

                       TENTH, ELEVENTH, TWELFTH, THIRTEENTH,
                         AND FOURTEENTH CLAIMS FOR RELIEF

                  A LIEN T ORT S TATUTE : C RIMES A GAINST H UMANITY

        108.   Plaintiffs re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 56 as if fully set forth herein.

        109.   Thomas and the EMG and SATU forces were part of a widespread or systematic

attack directed against the civilian population in Monrovia and Nimba County. This campaign

of terror consisted of multiple incidents of organized violence, including the acts of murder and


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other inhumane acts alleged herein, as well as extermination, imprisonment or other severe

deprivation of physical liberty, and persecution against individuals based on their political,

racial, national, ethnic, or cultural identity committed over the course of the Lutheran Church

Massacre.

        110.   The acts described in Claims Ten through Fourteen constitute crimes against

humanity, and each one is therefore a “tort . . . committed in violation of the laws of nations or a

treaty of the United States” under the ATS, 28 U.S.C. § 1350. The acts were in violation of

customary international law prohibiting crimes against humanity as reflected, expressed, defined,

and codified in multilateral treaties and other international instruments, international and

domestic judicial decisions, and other authorities.

                                   C ONTEXTUAL E LEMENTS

        111.   Following the invasion by Taylor’s forces on December 24, 1989, Thomas and

members of the SATU and EMG forces arrested, detained, subjected to sexual violence,

subjected to cruel inhuman or degrading treatment, tortured, and killed ethnic Manos and Gios

and civilians from Nimba County, who were presumed to be supportive of Taylor’s rebellion.

        112.   The attack on the civilian population was widespread within Monrovia and

throughout Liberia. The Lutheran Church Massacre alone resulted in the death of 600 civilians,

and the remaining 1,400 civilians in the Lutheran Church were the victims of attempted murder

and other inhumane acts. In the months preceding the Lutheran Church Massacre, government

forces repeatedly targeted Mano, Gio and other civilians as described at paragraphs 15 to 21.

        113.   The attack on the civilian population was also systematic.          All of the acts

described herein deliberately targeted individuals perceived to support the NPFL or other

insurgent forces. Attacks on civilian populations described at paragraphs 15 to 21 reflected



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systematic ethnic targeting in an attempt to exterminate possible insurgents within Monrovia as

Taylor’s NPFL approached the city.

        114.       Thomas knew of and participated in the ongoing widespread and systematic

attacks against the civilian population in Liberia. He ordered the Lutheran Church Massacre

intending it to be, and knowing that it was, part of the ongoing widespread and systematic attacks

against the civilian population.

        115.       The Lutheran Church Massacre was directed against a civilian population

pursuant to a military and government policy to eliminate civilians perceived as sympathetic to

the NPFL. Thomas and the SATU and EMG forces acting under his direction and control

committed the acts described herein under actual or apparent authority, or color of law, of the

Republic of Liberia and the AFL during the administration of President Doe. Thomas visited the

church prior to and during the Lutheran Church Massacre. He had opportunity to see that the

church was a designated Red Cross humanitarian aid shelter holding close to two thousand

unarmed civilians. Thomas therefore had no reason to think that the Church was a legitimate

military target.

        116.       Thomas targeted Plaintiffs, their family members, and other victims of the

Lutheran Church Massacre because of their tribal affiliation.

     T ENTH C LAIM F OR R ELIEF : C RIME A GAINST H UMANITY O F T ORTURE , A ND
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               C APACITIES , A ND B Y P LAINTIFFS J ANE W A ND J OHN X A S
                   R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

        117.       As part of this widespread or systematic attack, Thomas and other members of the

AFL subjected Plaintiffs and their family members to torture, and other inhumane acts at St.

Peter’s Lutheran Church, as alleged in Claims Three and Four herein. Such acts amount to

crimes against humanity for torture, and other inhumane acts in violation of international law.


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        118.   As pleaded in paragraphs 62 to 69, with regard to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of the crime against humanity of torture and other inhumane acts set forth

in paragraphs 108 to 116 above.

  E LEVENTH C LAIM F OR R ELIEF : C RIME A GAINST H UMANITY O F I MPRISONMENT
  O R O THER S EVERE D EPRIVATION O F P HYSICAL L IBERTY (B Y A LL P LAINTIFFS
           I N T HEIR I NDIVIDUAL C APACITIES , A ND B Y P LAINTIFFS J ANE W
          A ND J OHN X A S R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

        119.   By surrounding the Lutheran Church compound so that people could not escape,

and shooting or hacking to death those who attempted to flee, Thomas and soldiers from the

SATU and EMG imprisoned or otherwise severely deprived Plaintiffs and their family members

of their physical liberty in violation of fundamental rules of international law, including the

freedom from arbitrary deprivation of life and security of person, and Thomas knowingly

ordered and participated in this conduct as part of a widespread and systematic attack on the

civilian population.    As a result, these acts constitute the crime against humanity of

imprisonment or other severe deprivation of physical liberty in violation of international law.

        120.   As pleaded in paragraphs 62 to 69, with regard to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of the crime against humanity of imprisonment or other severe deprivation

of physical liberty set forth in paragraphs 108 to 116 and 119 above.




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   T WELFTH C LAIM F OR R ELIEF : C RIME A GAINST H UMANITY O F P ERSECUTION
    (B Y A LL P LAINTIFFS I N T HEIR I NDIVIDUAL C APACITIES , A ND B Y P LAINTIFFS
     J ANE W A ND J OHN X A S R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

        121.   As part of the widespread or systematic attack, Thomas and soldiers from the

SATU and EMG forces subjected Plaintiffs and their family members to a series of unlawful

acts, including murder and attempted murder, imprisonment, and other inhumane acts in

violation of international law. Thomas targeted Plaintiffs, their family members, and other

victims of the Lutheran Church Massacre because of their tribal affiliation. Plaintiffs and their

family members were severely deprived of their fundamental rights due to that discriminatory

targeting, which is impermissible under international law. The discriminatory attack therefore

amounts to a crime against humanity of persecution in violation of international law.

        122.   As pleaded in paragraphs 62 to 69, with regard to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of the crime against humanity of persecution set forth in paragraphs 108

to 116 and 121 above.

     T HIRTEENTH C LAIM F OR R ELIEF : C RIME A GAINST H UMANITY O F M URDER
            (B Y P LAINTIFFS J ANE W A ND J OHN X I N T HEIR I NDIVIDUAL
      C APACITIES , A ND A S R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

        123.   During the Lutheran Church Massacre on July 29, 1990, James W (Jane W’s

husband), Julie and Jen W (Jane W’s two daughters), Jane X (John X’s wife), Julie X (John X’s

daughter), James and Joseph X (John X’s two brothers) were each killed by SATU and/or EMG

soldiers. Thomas knew that the murders were committed as part of a widespread or systematic

attack on the civilian population. Such acts amount to crimes against humanity for murder, in

violation of international law.

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        124.   As pleaded in paragraphs 62 to 69, with regard to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of the crime against humanity of murder set forth in paragraphs 108 to

116 and 123 above.

         F OURTEENTH C LAIM F OR R ELIEF : C RIME A GAINST H UMANITY O F
   E XTERMINATION (B Y P LAINTIFFS J ANE W A ND J OHN X I N T HEIR I NDIVIDUAL
      C APACITIES , A ND A S R EPRESENTATIVES O F T HEIR D ECEDENT E STATES )

        125.   Thomas and SATU and EMG forces killed six hundred civilians at the Lutheran

Church, including the decedent family members of Plaintiffs Jane W and John X, as detailed in

Claim One herein. The Lutheran Church Massacre constituted, or took place as part of, a mass

killing of the civilian population, and Thomas knowingly committed the attack as part of a larger

widespread and systematic attack against the civilian population.       Thomas’s acts therefore

amount to a crime against humanity of extermination in violation of international law.

        126.   As pleaded in paragraphs 62 to 69, with regard to the Lutheran Church Massacre,

Thomas exercised command responsibility over, conspired with, ordered, incited, and solicited,

aided and abetted, co-perpetrated and/or participated in a joint criminal enterprise with SATU

and EMG forces, or persons or groups acting in coordination with the AFL or under their control

in committing the acts of the crime against humanity of extermination set forth in paragraphs 108

to 116 and 125 above.

                        DAMAGES WITH RESPECT TO ALL CLAIMS

        127.   As a direct and proximate result of Thomas’s unlawful and outrageous conduct

and intentional or reckless infliction of emotional distress as described herein, Plaintiffs have

suffered, and will continue to suffer, severe mental anguish and emotional distress, as well as

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physical pain and suffering. As a result, Plaintiffs have suffered damages in an amount to be

determined at trial.

        128.   In addition, as a direct and proximate result of Thomas’s unlawful and outrageous

conduct and intentional or reckless infliction of emotional distress as described herein, Plaintiffs’

decedents suffered severe mental anguish and emotional distress, as well as physical pain and

suffering, prior to their deaths. As a direct and proximate result of Thomas’s wrongful killing of

Jane W’s and John X’s decedents, Plaintiffs have suffered and will continue to suffer from loss

of companionship, support and services. In addition, their decedents’ wrongful killings, as well

as their suffering prior to death, inflicted severe mental pain and suffering on Plaintiffs Jane W

and John X. As a result, Plaintiffs Jane W and John X and the estates of their decedents have

suffered damages in an amount to be determined at trial.

        129.   Thomas’s acts and omissions, or those of his subordinates or agents, as described

herein, were malicious, wanton, willful, and oppressive, and exhibited a reckless indifference to

Plaintiffs’ rights and those of their family members. Consequently, Plaintiffs are entitled to

punitive damages.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for judgment against Thomas as follows:

               (a)     For compensatory damages according to proof;

               (b)     For punitive and exemplary damages according to proof;

               (c)     For reasonable attorneys’ fees and costs of suit, according to proof;
                       and

               (d)     For such other and further relief as the court may deem just and
                       proper.




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                                      JURY TRIAL REQUEST

        Plaintiffs request a trial by jury for each claim for relief and all triable issues.



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(pro hac vice to be filed)                              (pro hac vice to be filed)
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